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    Parliament-Funkadelic: Our 1985
    Interview With George Clinton
    Greg Tate

    37–47 minutes



    This article originally appeared in the October 1985 issue of SPIN.

    Where it all began is a barbershop in Plainfield, New Jersey, back in the
    early ’60s. Before he was cutting vinyl, George Clinton was cutting hair;
    before he got involved with the recording process, my man was
    chemically processing hair—mixing down wave, curl, and conk jobs for
    all the slick splib hustlers that ran the streets of Plainfield. We know now
    that this cat had a lot more on his mind than snipping naps and knotting
    up doo-rags for the rest of his natural born life.

    Along with a couple other barbers and a few high school chums, Clinton
    organized a doo-wop group named Parliament. Modeling themselves
    after groups like the Temptations and the Four Tops, they gigged around
    until Clinton one day got the bold idea to head for Detroit to try to bogart
    his way into a Motown recording deal. So Clinton and crew wind up in ’65
    with a minor hit, “I Wanna Testify,” on Motown subsidiary Revillot.

    For whatever reason, Berry Gordy decided he had enough male vocal
    combos in his stable, and Parliament languished on the label until
    Clinton decided to strike out on his own. Problem was, Motown owned
    the name Parliament, and so Funkadelic was born—out of desperation,
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    the Parliament back-up band, and Clinton’s warped notion of fusing the
    hippie counterculture with parodies of black pop, pimp, and prayer
    culture.

    Between 1968 and 1975, you opened up a Funkadelic record and you
    couldn’t guess what was coming next—a straight-faced take on the Fifth
    Dimension, like “Can You Get to That,” or a heavy-metal hydrogen bomb
    test like “Superstupid.” And go figure Cosmic Slop, where the title track,
    about a welfare mother who pimps for the devil, is followed by a country-
    swing ditty, “No Compute (Spit Don’t Make Babies),” about a hard dick
    on the prowl who raps like a poolhall version of Jimi Hendrix and waxes
    philosophic the morning after about being turned out by a transvestite.




    If that’s not enough there’s “March to the Witch’s Castle.” A fairyland
    goof? Nope, a holy-roller preacher’s benediction for soldiers returning
    from Vietnam—and maybe the only song of the period that embraced
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    the Vets as wounded mortals rather than as babykillers.

    Get the picture? If so, you’re doing better than the mass record-buying
    public of the period, black and white. Because in the main, Funkadelic
    was too wacky for the souled-out splibs and too black for the spazz
    whiteys who believed hard rock only came in caucasoid and got nothing
    to do with bloods getting happy feet besides.

    Then Clinton struck the mama lode with 1975’s Mothership Connection.
    This one was the turning point, alright. Not only did it give Clinton his first
    gold album and launch P-Funk as damn near a musical genre in its own
    right, but most important, it provided the impetus for the Mothership tour,
    which in turn begat the Funkentelechy vs the Placebo Sundrome
    “flashlight” tour, which begat the Clones of Dr. Funkenstein tour, which
    gave rise to the One Nation Under a Groove antitour—all barnstorming
    black guerrilla theater extravaganzas that between roughly 1977 and
    1980 made P-Funk seem a cross between the old Apollo and the circus.

    Having written off Clinton as a has-been by 1981, few expected the
    success he found upon the release of 1983’s Atomic Dog. Those few
    who weren’t surprised weren’t just diehards, they were folk who knew
    that if nothing else, George Clinton was a longtime survivor of the
    vicissitudes of the American music business. George Clinton is as cagey
    a ringmaster and self-promoter as P.T. Barnum, as charming a stage
    ham as Fats Waller, as charismatic a bandleader as Duke Ellington, as
    hardworking a showman as anybody else this side of James Brown.

    Listen to Clinton’s lyrics and you find him playing plenty roles: hustler,
    preacher, poet, pimp, professor, psychoanalysis, student of politics and
    sexual manners, carny barker, soul man, swingmeister, bebopper, doo-
    wopper, druggy, subliminal seducer, free spirit. And the band he leads is
    the best rock band in America.
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    Like some folk live for Sunday morning prayer meeting, I live for the
    gestalt achieved by these virtuosi. And for the image of Clinton—his
    living deathhead’s grin spreading across his Nubian mug like the
    stitchings on the Frankenstein monster’s neck, teeth strung
    cadaverously from jawbone to jawbone, his limbs and torso madly
    whipping the crowd’s emotions until they’re all feeling the funk as much
    to the fullness as he is. Ain’t nobody got fans that know as much about
    pure musical possession as funkateers, unless we talking disciples of
    vodun, juju, or hoodoo. We are a tribe unto ourselves, y’all, with our own
    language, lore, rites of passage, and articles of faith. One nation under a
    groove.

    If George’s rap is the positive side of P-Funk, the down side is what you’ll
    find the margins from the mouths of the men who’ve propped up
    Clinton’s thang for lo these many years and are now crying the blues of
    unpaid-for dues, misspent youths, and sacrificed creative muses. You’re
    gonna ask yourself why, if this cat seems so righteous, has he treated
    these bloods so badly, and why, even more outrageously, they keep
    hanging in for more abuse. Ahh, but I told you we’re talking church here,
    family even, as well as coldblooded business. And as much as George
    took from these guys he gave back. And dem’s da facts. Now, here’s the
    funkies.

    Why are you into such a heavy Thomas Dolby trip these days?

    He’s a motherfucking genius, man. He is so baaad. The only thing about
    his show is that it’s too slick. It was so slick that when he got to
    “Hyperactive”—which shoulda been the one to tear it down—it was only
    three minutes long. That chick who sings and plays the keyboards is
    baad. Not only can she play her ass off, but she has style. When she
    opened up, it was Patti LaBelle all up and down. White chick, too. She
    burned that mother down, and soon as she did it they ended the song.
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    People got mad, too.

    You gotta know what to do with an audience, man. I don’t care how slick
    you are: if you get their dicks hard, you better make ’em come. Know
    what I’m saying?

    That’s why we don’t do encores. If there’s even a possibility of an encore
    we don’t waste no time leaving the stage and coming back. We just stay
    up there and do it.

    Like one night when the crowd thought it was all over, we let Maceo and
    them go off into that heavy jazz shit they do. See, Dennis and Skeets, the
    drummer and bass player, are seriously into that. They were about to go
    with Weather Report when we first got ’em, but their dream had always
    been to play funk. And man, that tickled the shit out of me to find that
    musicians of that calibre wanted to play some funk.

    I went to school with Wayne Shorter [of Weather Report] and we used to
    laugh when he played that crazy shit in school. I went to school with Larry
    Young, the organist, too. Matter of fact, he used to sing bass with
    Parliament before he got seriously off into the other thing. I used to cut
    his hair.

    The first time I heard “Maggot Brain” back in ’71, I said, “This is the
    only shit out here that picks up where Jimi left off.” It was acid funk,
    taking all the hip R&B of that period and then throwing psychedelia
    on top of it. Eddie told me y’all did it in just one take!

    Yeah, I knew we needed one of those serious sad songs, so I told Eddie,
    “Imagine your mother died”—and me and his mother Grace are real
    close—”and then you find out she ain’t really dead.” And he said, “Man,
    that’s fucked up.” But I knew the idea had been planted. Matter of fact,
    the whole band played on the record, but they weren’t as intense as he
    was so I had to take them off. And that’s been a classic ever since.
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    After listening to “Free Your Mind and Your Ass Will Follow” the
    first time, I thought that record had one fucked-up mix, but now, in
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    the light of Jamaican dub, it was really ahead of its time.

    I’ve always said I really didn’t know what the fuck I was doing. That was
    the first time I was really turned loose in the studio. So I found out like,
    wow, I can pan. Well, shit, lemme pan the foot over here [laughs].

    We did the whole album in one day, mixed it and all, on three or four tabs
    of yellow sunshine. Both the first and second albums we did in one day,
    tripping out of our minds like a motherfucker. When I heard ’em six
    months later, I said damn, this is sloppy. I could never let myself do that
    again—and after that, engineers wouldn’t allow it. They’d say naw, man,
    there has to be a better way. Sly told me there was an easier way to do a
    tape loop, which is to do it on two track and then bounce it back.

    How is Sly doing?

    He was in the hospital, but he’s doing fine now. First time he’s ever
    wanted to be alone, and he’s working now. I got him one of them Linn
    drums, because he don’t know nothing about all this new shit! He’s never
    played synthesizer.

    Did you know that the Mothership Connection album, which
    became a gold record, and the tour, with all those flying saucers
    and funky extraterrestrials, a kind of black sci-fi extravaganza,
    would launch funk as a musical movement?

    Oh, shit yeah! This business is run by association and money. When you
    can say you’ve spent $350,000 on something, and Jules Fisher did the
    spaceships, and Larry Gatsby did the costumes, you’ve just associated
    yourself with the Rolling Stones, the Who, Patti LaBelle, The Wiz. The
    magazines know those names so we made People the first week out
    and Newsweek the second. We’re gonna have to bring the spaceship
    out again, because there’s a whole bunch of new kids who never saw it.
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    Kinda like the black Woodstock?

    Or like Barnum and Bailey. We took it to Japan last year. They got a big
    club over there called Bootsy.

    Yeah, I’ve been there. It’s out. Everybody walks around with big
    sunglasses on and their hair dooed up. It’s deep. Man, they got
    Japanese Rastas over there with Japanese dreadlocks.

    They say they got all black music covered over there. I saw a Japanese
    chick singing, sounded just like Sarah Vaughan. This girl couldn’t speak
    English too tough, but when she sang she had Sarah Vaughan down.

    Where did that Zulu coat and headgear you wore on your last tour
    come from? That’s a powerful thing. It’s a totem boy.

    Ain’t that a baaad motherfucker, with all them feathers on there and that
    spear and that shield. Larry Gatsby made that one. He does David
    Bowie‘s costumes, too.

    You done much study of the Egyptian and Nubians?

    Just after I did the record “Nubian Nut,” a Chinese guy called me that, a
    Nubian nut. I didn’t know what the fuck that meant. Thought it meant a
    naked motherfucker. I went to look it up in the dictionary because I liked
    the rhythm of it. It said African, so I said cool. Then I went out and got
    some books by this German chick, Leni Reifenstahl, Last of the Nuba
    and The People of Kay. There’s one motherfucker in one picture looks
    just like me.

    I decided to make that the lead tune, since rapping was happening and it
    needed another elevation. In New York, the only allies to the funk are the
    rappers and the breakdancers, and rap is a good thang. It needed to go
    somewhere else, because it’s like hopscotch music. After you do that for
    a few years you gotta take it somewhere else or it’ll get stale. So when
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     we did “Nubian Nut” we said, “Let’s do a song and rap to that.”

     You took it back to the church on thane, because a preacher ain’t
     nothing but a rapper.

     Preachers, pimps, and politicians.

     Isaac Hayes did 25 minutes of rap, remember? “By the Time I Get to
     Phoenix She’ll be Gorgeous.” Mug went through three divorces
     before he got there, too.

     Seems like now, for the first time, the press is finally giving you all
     the serious push.

     Ain’t that something? And in Europe, “Pumping Me Up” was the No. 1
     record. You know, CBS acted like they didn’t even know we were there.
     The record was selling like a motherfucker—busting out in Dallas,
     Houston, Chicago, L.A.—and CBS acted like it wasn’t even theirs. Dude
     over there told me that I was embarrassing him with that news, because
     over there, it’s such a big machine they only know records by numbers.

     The record came out before Christmas, and usually they like to get rid of
     records that come out before Christmas. We forced the record to stay
     around. I went out to a promotional tour for Capitol, and while I was out I
     promoted both records, and that kept it alive. I had to send a bunch of
     clippings over to Walter Yetnikoff [CBS president].
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     Well, you know all his eyes could see then was Michael Jackson.

     Well, shit, he had to. I can’t blame him. I understand—Michael sold 35
     million records. Shit, that’s like having 35 smash acts selling a million
     albums apiece. I just hope that now they got all that money they’ll spend
     some of it on the rest of us.

     P-Funk is an institution now, though, like James Brown. Maceo
     Parker once said that James Brown doesn’t need a hit record to get
     the people out.
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     The boy has got energy up the asshole. I mean, he don’t just stand there,
     he don’t just make it, he mashes. I was talking to him and said, “Hey
     James, give me 17 splits.” The boy gave me 18 faster than a
     motherfucker. And hard, too, like bam, bam, bam! My nuts go crazy just
     thinking about a mug doing that many. But, oh yeah, P-Funk is beyond
     commercialism now.

     We got off in Minnesota, and there was nothing but white people ate the
     gig. See, that’s what’s weird now—a lot of white people come to the
     shows. And all they want to hear is Let’s Take It to the Stage, Maggot
     Brain, Standing on the Verge.

     One girl came in one night with 51 albums. I didn’t know I’d been on that
     many records. And she came in there talking about, would you please
     sign these for me. I said, baby, I really appreciate you got all these
     records, but I tell you what I’m gonna do: since all the members of the
     group are pretty much stars, I’m going to give each one two records to
     sign. Well, she was elated. Little bitty white girl couldn’t be no more than
     19. And that’s been the trip all around the country with white people
     lately. Their thang is to come up to me and say, “I got all the records P-
     Funk ever put out.”

     Which is cool, but man, I saw you all at Howard University back in
     1969 when you came out with nothing on but your jockstrap.
     Nobody knew how to handle it then.

     And we cleaned up considerably for those shows, because back then we
     used to come out naked for real. I did that again five years ago when we
     were out with the Mothership and Sly was with us.

     I was there, man. That was in D.C.

     Sly came out cool as a motherfucker and people was screaming
     because I came out behind him with no clothes on whatsoever. Sly said,
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     “Man, I thought they was loving me because I was back, only to turn
     around and find you with your motherfucking dick hanging out.”

     I tell you, though, y’all were rag-ged-y as a mug on that tour.

     Well, what it was about then was that the record company was treating
     us so bad, trying to destroy us. So my thang was like, well since this was
     a farewell tour and wasn’t nothing going right anyway, I said fuck it. And
     then Sly, his whole thang was just to get on stage and face people. He
     wasn’t really trying to play or nothing, just psyching himself up to get out
     there again. I told him, “Man, don’t worry about doing the show. If you can
     make it through the whole tour and just don’t quit you’ll be alright.” And he
     did.

     Sometimes he played good, sometimes he played excellent. The band
     didn’t even think he could play, because most of them were too young to
     even know him. They didn’t pay him too much attention, but every once
     in a while he’d get off and they’d say, wow, he is a baaad motherfucker.
     And right after that he started playing a lot. But on that tour he was just in
     the band and was getting paid like $20 a day. Everybody left the for with
     $20 and a bus ticket to get home from Detroit. That’s how bad the
     industry was dogging us on that tour.

     I remember that when you got to Madison Square Garden,
     everything had gotten lost.

     Yeah motherfuckers sent our shit to Milwaukee, on purpose. They were
     really trying to fuck us up, but we did the show anyway.

     So they were messing over you because you were getting your
     own business thing together?

     Oh, yeah. Because we fired all the managers and lawyers who were
     fucking us up. I knew they were doing it, but I wasn’t going to fire them
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     until I got the Mothership tour off the ground. No way we were going to
     get that motherfucker up in the air if we fired them motherfuckers before
     the tour. but once it got out of the reach of gravity I said fuck ’em. And
     once I did that everybody was, like, hands off.

     But we weren’t going to quit the tour. That was the main thang: nobody
     quit. But when it came time for the Atomic Dog tour [in 1981], even I had
     to wonder who was going to show up. Because I knew that the ’79 tour
     had been rough.

     See, we don’t do a whole bunch of communicating, we just know, and it’s
     cool. And when I got to Miami for rehearsal and saw everybody was
     there, I cried. Because they had gone home with 20 motherfucking
     dollars. I mean, me and Sly didn’t get nothing.

     We was like, give us a gram a night, you know, that was the joke. Sly said
     we ain’t no one-gram niggers now, man. But I said, man, ain’t no money
     for us to do it no other way. I mean, I was retiring and he was definitely
     retired, so we was just out there hanging out. So, if we got a gram and a
     room we were cool. Did the whole tour and didn’t get shit but something
     to eat every day, and usually didn’t get the gram [laughs].

     But everybody went through the whole motherfucking tour. And when it
     came time for that Dog tour, everybody had the vibe, and they played
     with a vengeance. First show as the Red Parrot in New York, and we
     tried to kill, because everybody knew everybody could play, but our show
     had never been about any seriously articulated playing. We had a vibe.
     But this time out we said, “Let’s do it articulate and let’s give ’em the vibe.”
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     The tapes from that convert you all did for the Budweiser festival
     out in Beverly Hills are awesome. It’s like funk on the Ellingtonian
     or symphonic level. You have to release that commercially for all
     the funkateers.

     Oh, did you hear that? Ain’t that baaad? That is our baaadest shit, man.

     What’s up next?
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     Next Funkadelic album, By Way of the Drum, has got an island vibe to it.
     Not reggae, but more like junkanoo and calypso. Done that one with the
     band and some drummers down there in Nassau.

     Then Parliament has a real interesting one coming out called Upsouth.
     It’s about—like, are you hip to lobotomy? They tried to legalize it about
     four or five years ago as a treatment for so-called violent criminals.
     There’s a place out in California called Vacaville Medical Correctional
     facility. You dig, that’s where they’re gonna correct you medically. And
     now they can do it with a laser beam. They don’t even have to open up
     your head any more.

     People like Hinckley and all the political prisoners from the ’60s went
     there: Leary, Cleaver, Huey Newton. And if you notice, every one of them
     is acting very strangely now. Walking around with dick suits, beating
     chicks and getting busted, doing standup comedy, hanging out with the
     Moonies and 700 Club and shit. They couldn’t get followings of a radical
     nature again or be leaders of revolutions again, I don’t think.

     So the album is about up south, where a dude dies of a headache
     because he vows never to pick another lick of cotton out of a pill bottle.
     See, it’s about funny farming, hoeing in concrete, and the Vacaville Thrill,
     where they drill into your will, cut into your consciousness, and dissect
     your dreams. Because that’s what they’re all about now. The Hinckleys
     and all those that go out and shoot people—they’re not just nuts. They
     are the product of somebody pushing buttons.

     Like, you ever see The Manchurian Candidate with Frank Sinatra? Well,
     now they can push buttons and set two or three folk off at once without
     even making contact with them.

     There’s a brain research scientist up at Columbia University who
     says just having a normal conversation with someone can run
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     strange changes in your brain cells and metabolism.

     Oh, yeah, because chemicals start moving the minute you hear certain
     words.

     What do you think about what happened to Bob Marley?

     I know they wanted him dead two or three years before he died. It was
     inevitable that something was going to happen to him, because there
     were too many different attempts being made on him. He was putting out
     too much vibe that they had no control over.

     So I knew something had to happen to him. Because even if they didn’t
     literally do it, they can, like, put a vibe around you so deep until, like with
     John Lennon, they can make somebody come up in the name of love
     and kill you. I mean, they can do that now.

     Commercials made people dislike Michael Jackson. Like, they had a
     contest where they asked are you getting sick of Michael Jackson, but
     what they really meant was are you getting sick of his face. Michael
     needs to change his face again. Because they’ve shown so many
     pictures of him now that it’ll be beneficial for him to come up with a whole
     ‘other anti-Michael Jackson look.

     And he has got to do it for himself. Because if he waits for them to do it,
     it’s gonna be negative. He had to be going through one helluva head trip
     when the machines started trying to come between him and his family. I
     have no doubt that they’ll maintain, because they’re close and basically
     too funky and rough. They might look cute and have been through
     Motown, but they ain’t that vulnerable. Don King was a good thing for
     them because he could do nowhere near the damage of the
     sophisticated corporate machine.

     When you think about that one cat being bigger than the Beatles
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     and not even having three other cats in there to take the weight, it’s
     frightening.

     You know, when him and Paul got together he was like the fifth Beatle to
     me. I liked that concept when they hooks up. The Beatles are my all-time
     favorites. They were at the right place at the right time, and they made
     the best out of it.

     Sly was my next favorite, but there was just one of him, and there was
     nobody to bounce shit off of. Jimi was the same way.

     But the Beatles had the right opportunity and that vibe that comes
     through all of us to make us write that shit. That shit just comes through
     your ass, and if you can take advantage of it, you’re doing pretty good.
     And the Beatles were able to take advantage of it, four at one time.

     Each of them had a different drummer, and they was on the one. Michael
     right now has that chance. I hope he knows more than the politics of the
     music and his own energy, because he has that. But, see, his manager is
     somebody from the motherfucking record company, and that ain’t no
     accident.
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     That’s about charisma control, man.

     You know what I’m saying, that’s all it is. And it’s good, because it’s given
     him access to 30 million records. I’m not saying that’s wrong, but he
     should be aware that that is what it’s about and that he ain’t got to be
     grateful to the motherfucker. He should stile the one to direct his own
     image. At a certain point you have to change before you reach the point
     of saturation.

     That’s why when we finished the Mothership tour we said, now let’s go
     on the anti tour immediately. Soon as we had finished four years of all
     that glitter we said let’s go to all these little bitty places and play three
     hours for us.

     No limousines, get to the gig the best way you can, and just get your ass
     out there and jam. Or else you’ll start believing that star shit. And when a
     motherfucker says you ain’t shit, you will die of a heart attack. Especially
     after you have psyched yourself up to believe you are the equal of 30
     million albums. Right now I say fuck a limousine. I’ll take a cab in a
     minute. I walked to see Thomas Dolby. And that gives you strength.

     Because people ask, man, ain’t you tired, and I say I don’t fee like I’ve
     done shit. I rehearsed for this 17 years of my life. When I was younger I
     used to walk down side streets in Newark on Sunday when the stores
     were closed, screaming “Parliament, Parliament!”—just so I could hear
     what it was going to be like when I made it to where I wanted to be. So if
     I’m crazy now, I was crazy then.

     Eddie Hazel, guitars

     You looking for the serious supergroup? We got it right here. We have
     magic, man. This is a very gifted group, and when we come together, it is
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     about magic! In the next few months, things are gonna tighten up even
     more for us. Just doing the R&B circuit is cool, but this is a crossover
     group. We got individuals here whose heads are someplace else. But if
     and when we reconnect, your whole body will feel it. Your hair will stand
     up. I don’t care if your hair is nappy, that shit’ll straighten up and then curl
     back.

     “Maggot Brain” was a feeling. Getting off a fucking airplane, man, and
     walking down Broadway in New York with my guitar on my back and not
     really feeling good. So, now I walk into the studio and they say, “Eddy,
     play,” and I just played. That’s where it came from. One take. Now, the
     happening one in the group, the solar plex, if you will, is my brother
     Blackbird here. He’s a soarer, you dig. We all soar, but he reaches
     something else that makes the whole thing turn around—through his
     craziness, which I love, because we’re both Aries. Then we have a
     Scorpion here, Mike, who kinda puts the sting on things, and we are
     happening!

     George and I first hooked up about a haircut. It was very hairy. I needed a
     head shave [laughs]. Anyway, George used to cut my hair, and Ray
     Davis, who sang bass with Parliament, had an uncle who was also a
     barber and who rented a room in my mothers house. He played upright
     bass, and he said, hey, George, come check out this young mutha. So
     from there I stared hanging out with him. Then I left and went to Motown
     for seven years. And I did my little airplane trip. They said I bit somebody.
     Yeah, I bit ’em. And did a couple of years for that shit, for the bite, you
     know. Teeth assault [laughs].

     We’ve got more to give than the ear might be able to understand. On
     nights when it’s really happening, you can hear a new vernacular. Even
     on bullshit nights you can hear the magic. If I was just a spectator I’d be
     saying, “Yeah this is the muthafucka!”
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     This is an eternal group with most definitely some eternal secrets. Stuff
     you don’t even talk about, almost like being in a lodge. We have a couple
     of Masons in the group, and they got steel hips, and we kind of lock their
     shit up in there. I’m not trying to be evasive, but you know the P-Funk
     hand sign? Well, see, it’s not about the sign, really. It’s not about any sign.
     It’s about what people give. Spiritually, you deal with the music, because
     that’s coming from the soul, and that’s whites’ happening. “Cosmic Slop”
     is very spiritual because that’s like the root we come from. The blues in
     my playing comes from my grandmother; she taught me how to play.
     She bought me one of those motel Mickey Mouse guitars, the kind you
     wind up. And I sat down and looked at it one time and said, fuck this,
     because I was tired of winding up and hearing the same melody. I said,
     “Give me some music.” So she started showing me some things, and
     she saw that I was into it.

     You hear some of my chords as haunting? I’m going to tell you
     something: we have been going through a haunting era. Check out what
     we’re going through now! I really don’t want to get into that, but see, it
     makes you hear something else, and you have to play those feelings. I’m
     into the earth. Yeah, we can go to space, but so what? It’s all about
     making people move, making people feel happy. Calm ’em down, make
     ’em think about themselves, too. Music can do all that. Music can make
     you shit.

     My ears are open because my family turned me on to a lot of different
     things. I think it’s a blessing to be able to have that. My brother Blackbird
     here, I love to hear him soar, man, because he flies good. Matter of fact,
     he could be my pilot. But if you fuck up my plane, boy, you’ll be a
     grounded muthafucka [laughs].

     I’m glad the family has stayed together this long, because I enjoy my
     brothers. I enjoy the ups and I enjoy the downs. The downest part of it is
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     making the ups. You’ve got to make the climb. That’s why I acknowledge
     my brother Blackbird here: Aries the ram, run up the mountain and soar
     from the top!




     Bernie Worrell, keyboards

     Over the last three years, I’ve finally gotten over my fear of success or
     whatever, but I still don’t want all the spotlight. I like to lay back and color
     in. Everybody makes the group. I’m a principle factor, but that’s just one
     principal factor. You got all these others, too. I like a lot of our older stuff
     that’s in the can. Some of it’s pretty hot. I don’t particularly care for some
     of the newer stuff. People say it’s not hitting as hard without me, and I
     tend to agree. I’m not trying to down anything, because I still want them
     to make it.

     The Mothership was my favorite show, Can’t nothing top that. And I think
     whenever George puts together the return of Mothership, that’s when
     you’ll see us all come back together a lot tighter. Because that one was
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     really about enlarging the mind. Inner and outer space.

     The whole concept behind the spiritual feel to it was that we would be our
     own congregation. At first it was underground, then the apostles went out
     and amassed all colors of people. We’re very well known in Europe.
     Believe me, we’ve infiltrated over there also. I tried to get George to go
     over to Japan right after the first Talking Heads tour. I said, they’re ready.
     The Japanese had all our records over there, pictures, everything. When
     I was with the Heads, every night I rode past that club they got over there
     called Bootsy. When I took the Brides of Funkenstein over a few years
     ago, people asked when is P-Funk coming, when is Bootsy coming. I just
     came back from Australia and New Zealand. Found there is another
     market for the funk. Man, sheeet, there’s so many other places, but
     George has got to get the business together, you know, ’cause he’s
     blowing it.

     Is George self-destructive? Interesting to hear somebody else think in
     those terms.

     Pedro Bell, funk conceptualist/artist

     One of my biggest disappointments with P-Funk is that as soon as the hit
     records started happening and the cash flow got deep and regular,
     communications between me and George dropped off to nil. Once upon
     a time I had direct access to him, regardless of his location. Well, I
     haven’t had a crash base on him for years. I don’t know why. I never
     called him up and said “Give me more money.”

     At one time, within a three- or four-year period, the group made $30 to
     $40 million, and people who were around from day one got no real
     benefits from that kind of cash flow. George didn’t swing all these
     massive bills so that everybody could live a full life and funk happily ever
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     after. Consequently, the vibe is no longer about going for “the One,” but
     more like, well, I don’t have anything else to do, or maybe one day I’ll get
     paid or get a solo album out—which is a whole nutha thang as opposed
     to the real dedication that was there, say, 10 years ago.

     Ten years ago, if somebody had offered some of the guys in the band X
     around of dollars to do something else, the’d have said, naw, that ain’t
     the real funk. But today, for the right dollars, somebody like Edie or
     Bernie would leave in a minute. I’m a mercenary myself now.
     Somewhere down the line I realized it had become a glorified pimp-ho
     relationship and I was ho-ing myself. So I figured I’ll at least get the
     dollars straight. Now I don’t contribute any ideas I’m not paid for into the
     organization. Sorry to have to say that.

     Once upon a time, there was a certain outfit in the band called the Dream
     Division. I called ’em the Scheme Division. That’s where, conservatively,
     75 percent of the bullshit originated. But George was the one who
     delegated the responsibility. Like, let’s say somebody knocks up the
     daughter of a Mafia don—does he directly hire a hit man? No, he gets an
     underling to do it and says, “I don’t want to hear about the details.” So it’s
     not like things completely got past George. Not that it was all George’s
     and the Scheme Division’s fault. P-Funk just wasn’t prepared to deal with
     a certain level of success. I never expected us to get as big as we did. At
     certain critical moments they did excactly the wrong thing. Every time
     they pulled off a big surprise on the industry to make big money, they
     pulled off a negative surprise on themselves to throw it away.

     George at one point must’ve believed that because so much money was
     being generated, even if he ran the whole organization as a barbershop
     operation the cash flow was going to stay, regardless of the funk-ups.
     But, you know, if P-Funk had its business straight and was making that
     kind of money, the IRS would be going over them so carefully. Look what
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     happened to James Brown after he made “Say It Loud, I’m Black and I’m
     Proud.” They took his ass to the stage, and it didn’t matter when he came
     out with “America Is My Home,” cause he’d gotten just a little too deep,
     and he paid dearly.

     Michael Hampton & “Blackbird” McKnight, Guitars

     How did you survive when you were off the road?

     BLACKBIRD: Ingenuity. We had places we could play, project here,
     project there, kinda takes you up to tour time again. We tried to get into
     something that would totally divert our attention—because when funk
     time comes back, it’s definitely No. 1 on the list of priorities. There are a
     lot of twin-occupied people in the group, but I’m not into that. I was put
     here to play music, and I’m going to die playing music, or die starving
     playing music.

     HAMPTON: Yeah, you’ll probably see us out there with our cups in our
     hands. Ha, ha. Me and Bird are looking for sessions for real, though
     [after the tour]. Right, Bird?

     BLACKBIRD: Yeah, definitely put out the word that when the tour’s over
     we’re looking for projects because people assume we’re satisfied with
     what we’re doing, since the group is so well known, but no, no, no. I’d like
     to stay out here on the East Coast and maybe do some clubs or
     whatever, because the West Coast is, for me…I won’t say dead, but…

     HAMPTON: There’s not a lot of jobs for black acts, because “metal
     people” look at the face and the skin tone. I’m not sure nobody says that,
     but that’s why if I do something out here I’m going to have a band that
     sounds ethnically cool, where I can lay back and be safe with it. I listen to
     a lot of heavy metal for that strength, you know. Because jamming with
     an R&B band all the time, you just get a baby mix. It’s like they wanna
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     keep us down to a minimum sound level so the audience can hear the
     voices. One time I was playing and I thought there was a power failure in
     the club, only to find they’d turned the power down. You just kinda learn
     to grin and bear it.

     BLACKBIRD: It’s like working with crutches. Once you get to the point
     where it doesn’t matter any more, you’re cool. But give me some good
     equipment and watch out, baby!

     HAMPTON: I feel so helpless without volume. I’d like to find out what Van
     Halen‘s people do to their equipment, because I heard them in some
     clubs and the power was just ridiculous. That’s why I’ve been thinking of
     doing some metal, something stronger. Just so I could, like, come to the
     edge of the stage and kill, you know, feel that surge of doing something
     that’s powerful.

     Maceo Parker, horns

     I started with James Brown about 20 years ago and have been with him
     off and on ever since. Last time I took off from James was back in 1977,
     when I finished hooked up with the Family, with George and P-Funk.
     Working with James and working with George isn’t similar except for the
     intensity of the onstage presentation. George’s attitude has always been,
     it ain’t nothing but a party. Whatever happens onstage is fine. I mean, we
     do go through rehersals and run through things with the guitars and
     voices and patterns, but it’s more like a baseball game, where the coach
     may say run this or play that, but however it happens in the end is the
     way it is.

     With James, it’s a little more, uh, military. There’s a certain amount of
     bars to be played, there’s a certain position you have to stand in—that
     kind of thing. I could close my eyes and tell you exactly what James is
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     doing every minute.

     The thing about working with James is you just have to tally forget your
     own way and just do it his way, and once that happens you’re fine. I
     imagine he’ll be working as long as he can breathe. A lot of times I’ll be
     exhausted and he’ll be out there doing five or six more splits. I don’t know
     where he gets the strength or the energy, but there’s something in him
     that gives him the strength or the will to entertain, besides the fact that he
     loves it.

     George has a similar kind of thing. It’s like a preacher who’s got the holy
     ghost and says you’re going to get it, too, before you leave. One thing
     about being out with George is that it’s truly fun. With James, the offstage
     situations are a little more strenuous and harder to cope with. Here, it’s a
     little more relaxed and about family for real. That’s why for the past for or
     five tours you see the same guys, because what’s been developed is a
     real family. And you can’t overvalue that kind of brotherhood, because
     when you work with guys tour after tour and get to know the real guy, and
     it becomes like real family and about some truly meaningful
     relationships.
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     Gary Shider, vocals

     I remember George doing my hair when I was 7 years old. We always
     had to keep our doos laid, so that’s how I hooked up with him. We all
     sang together, played together, hung out together. When I was of age, it
     was time for me to go on the road. I came on board around the time
     George did America Eats Its Young, and I was like the baby of the whole
     thing. That’s when we were Funkadelic: screaming guitars and a lot of
     crazy shit. Anything went.

     I remember us all in one car trying to get to the gig, carrying out our own
     amps and stuff like that. And being late for gigs—real late. We did one gig
     at Tennessee State, and nobody made it but me, George, Calvin, and
     James Wesley. James told jones for hours, and I got up and sang and
     played some solos until the band got there around midnight. Missed the
     plane because they were sitting in a restaurant.

     We all created the music—me, George, Boogie, Eddie, Bernie,
     everybody. George and I would go into the studio as producers. We’re
     free-form in the studio—the studio is loose like you wouldn’t believe. The
     live show is tighter. Unlike most groups that go in with it all written out or
     rehearsed, we go in to be creative, work up new ideas. We figure you get
     the best things out of mugs by letting ’em go in there and play.

     George basically writes all the lyrics and helps us arrange it. He doesn’t
     play an instrument; he plays ears. He can hum it to you, but other than
     that he don’t play no instrument. He’s the overseer, the man with the
     concept. Bernie is the super ears, mixing classical with funk, and really
     making it spiritual. The next Funkadelic album, By Way of the Drum,
     mixes African, Brazilian, and Bata drumming with electronics. We need a
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     new direction, and that’s where music is going anyway.

     Everything you hear now is drums. Most dominant thing on a record now
     is drums. The drums give us something to follow. The drums are talking
     to us now, like they were talking to us in the beginning.

     There’s so many of us that it’s hard to blow a concept. Everybody loves
     to contribute, because we live and breathe what we do. We could’ve
     gone into rock. We thought about it. But now the world has come to
     accept funk. Before that, funk was a bad word. Now everybody sees funk
     is working, and so the average mug now is funky. Eats chitlins and lots of
     beans so he’s full of gas. Funk is a way of life.

     You can’t leave the funk once you get into this, because this is addictive.
     We’re still one big happy family, that’s why we’re still making music
     together. I believe I was born funky. I always knew I was going to be here
     with George. That’s why I’m here to make more funk, then past on to the
     babies when I get too old and can’t funk no more.
